               Case 4:07-cr-40006-JPG                    Document 266 Filed 03/20/08                       Page 1 of 6         Page ID
% A 0 245B    (Rev. 06105) Judgment in a Criminal Case
                                                                   #844
              Sheet 1




                        SOUTHERN                                 District o f                                  ILLINOIS

         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              v.
                   DAMIAN Y. JAMES                                        Case Number:           4:07CR40006-001-JPG

                                                                          USM Number: 07310-025
                                                                           Timothy J. Capps
                                                                          Defendant's Attorney
THE DEFENDANT:
gpleaded guilty to count(s)           1, 2, 3 and 4 of the Superseding Indictment

  pleaded nolo contendere to count(s)
  which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title B. Section                   Yaturc of Oftense                                                        Offense I.:nded             ('ounl
 21 U.SC.846                        Conspiracy to 0istribute.Over 50 Gram of Cocaine Base                    3/7/2007                    ls
 18 U.S.C. 9241aM2)
              . .. .                Unlawful Possession of a Firearm by a Felon                              11/25/2006                  2s
 21 U.S.C. 841(aXl)                 Distribution of Less Than Five G r W of Cocaine Base                     10/2/2003                   3s & 4s

       The defendant is sentenced as provided in pages 2 through              10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is        are dismissed on the motion of the United States.

                                                                                                             30n Ja s oi311)~hdngr.of name, res~dence,
         It IS ordered that thc delendant must nottiy the United States anomey for thta dlstrtct \ \ , ~ t h ~
or rna~l~ng                                                                                                     7
           address unui all fines, restttuuon,,rosts, and spectal assessments lmpased by thts judgment are fu ly patd    . "lfordercd
                                                                                                                              '       to pay restnutton,
the Jcfsndant must noufy the murt and Un1tr.d Stares attorney of mater~alchanges in economlc strcunatJnces.
                                                                           311412008
                                                                          Date of Imposition of Judgment




                                                                           J Phll G~lbert                               D~str~ct
                                                                                                                              Judge
                                                                          Name ofJudge                                 Tttle of Judge
                  Case 4:07-cr-40006-JPG                Document 266 Filed 03/20/08                     Page 2 of 6        Page ID
A 0 2458      (Rev 06/05) Judement in Criminal Case               #845

                                                                                                       Judgment - Page   2
                                                                                                                         - of        10
 DEFENDANT: DAMIAN Y. JAMES
 CASE NUMBER: 4:07CR40006-001-JPG


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total tern of:

  295 months (295 months on Count 1,120 months on Count 2 and 235 months on Counts 3 and 4 of the Superseding
  Indictment). All counts to run concurrent with each other.


           The court makes the following recommendations to the Bureau of Prisons:




      I$ The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:

                at                                     a.m.          p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                   , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            BY
                                                                                                  DEPUTY LINITED STATES MARSHAL
                  Case 4:07-cr-40006-JPG                 Document 266 Filed 03/20/08                     Page 3 of 6         Page ID
                                                                   #846
A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3 S u p e r v i s e d Release


DEFENDANT: DAMIAN Y. JAMES
                                                                                                           Judgment-Page
                                                                                                                           -
                                                                                                                           3        of          10

CASE NUMBER: 4:07CR40006-001-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

 10 years (10 years on Count 1, 3 years on Count 2 and 6 years on Counts 3 and 4 of the Superseding Indictment). All
 counts to run concurrent with each other.


      The defendant must report to the probation office in the distnct to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall susmit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as deternuned by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 46 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month,
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physlclan;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or admin~stered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the pro%ationofficer;
           the defendant shall pe.rmit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probatlnn officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or           history or charactenstics and shall permit the probat~onofficer to make such notificat~onsand to confirm the
           defendant s compliance with such notification requirement.
A 0 2458     Case
           (Rev. 06105)4:07-cr-40006-JPG
                        Judgment in a Criminal Case   Document 266 Filed 03/20/08        Page 4 of 6          Page ID
           Sheet 3C - Supelvised Release                        #847
                                                                                            Judgment-Page     4   of      10
DEFENDANT: DAMIAN Y. JAMES
CASE NUMBER: 4:07CR40006-001-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the financial litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial aains to the outstandina court-ordered financial obliaation.
                                                                                          "       The defendant shall
 immediately notify the probation officer of the receipt of an; indicted monies.

 X Based upon the defendant's history of drug and alcohol possession, the Court is exercising its discretion by ordering that
 the defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility, or residential reentry center. The number of drug tests
 shall not exceed 52 tests in a one year period. Any participation will require complete abstinence from all alcoholic
 beverages. The defendant shall pay for the costs associated with substance abuse counseling and1 or testing based on a
 copay sliding fee scale as directed and approved by the United States probation Office. Copay shall never exceed the
 total costs of counseling.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search.
 conducted by the United States probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 IXI Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
A 0 2458   (Rev.Case      4:07-cr-40006-JPG
                 06105) Judgment     in a Criminal Case    Document 266 Filed 03/20/08                         Page 5 of 6           Page ID
           Sheet 5 C r i m i n a l Monetary Penalties                #848

DEFENDANT: DAMIAN Y. JAMES
                                                                                                           Judgment-   Page   -
                                                                                                                              -  5      of          -
                                                                                                                                                  l.n

CASE NUMBER: 4:07CR40006-001-JPG
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetaxy penalties under the schedule of payments on Sheet 6

                       Assessment                                            -
                                                                             Fine                                  Restitution
 TOTALS            % 400.00                                               $ 800.00                             $   0.00


      The determination of restitution is deferred until     -. An Amended Judgment in a Criminal Case ( A 0 245C) will he entered
      after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      It'the def~ndantnuhe> a partla1 payment, each pa ce shall recene an approhinutzly ro onluned aylncnt, unlej, spciificd otherw~sein
      the prlortty order or percentage payment columnirlo\r. ~o\vc\;cr,pursuant to 18 iflS .! $ 3064t). all nunl'cdr.ra1 \,lctlrns must be paid
      het'ore IIIC I'ni~edStales 15pd~d.

 Same of Payee                                                                                      Restitution Ordered       I'riorih. o r Percentaee




 TOTALS                                                           0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 81 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @ the interest requirement is waived for the              &$tine           restitution.
           the interest requirement for the               fine           restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, hut before Apr1123, 199%.
A 0 245B
              Case
           (Rev.        4:07-cr-40006-JPG
                 06105) Judgment in a Criminal Case    Document 266 Filed 03/20/08                     Page 6 of 6          Page ID
           Sheet 6 -Schedule of Payments                         #849
                                                                                                         Judgment - Page      6     of          10
DEFENDANT: DAMIAN Y. JAMES
 CASE NUMBER: 4:07CR40006-001-JPG


                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    &if Lump sumpayment of $                               due immediately, balance due

                 not later than                                  , Or
                 in accordance              C,    [7 D,            E, or    @ f below;
                                                                                ~      or

 B         Payment to begin immediately (may be combined with               C,       [7 D, or        F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     [7 Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     &if Special instructions regarding the payment of criminal monetary penalties:
            While on supe~isedrelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater toward his fine.




Unless the court has express1 orderedotherwise, if this jud ment imposes imprisonment, a ent of criminal monetary penalties is due durin
Imprisonment. All crlnnnarmoneta penalties, except a o s e payments made througg t g ~ e d e r a Bureau
Responsibility Program, are made to #e clerk of the court.
                                                                                                   l      of Prlsons' Inmate                 ina an cia
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                       1.
Payments shall be applied in ,the following order: (1 assessment, (2) restitution principal, (3) restjtution interest, (4) fine principal,
(5) fine interest, ( 6 )community restitution, (7) pena tles, and (8) costs, including cost of prosecution and court costs.
